To Whom lt May Concern,

                         was born on April10, 1962to JackCowanMcPherson
      RobertMark McPherson                                               and Mary Dell
LowryMcpherson.Roberthasone olderbrother,JackCowanMcPherson,  and one oldersister,Billie
Ann Duff.

        Hewent to SundaySchooland Churchat ColdSpringPresbyterian  Church.He took Jesuschrist
                                                                                          4-H
as his personalsaviorat an earlyage. He wasan activememberin the YouthGroup,the BoyScouts,
Club,and GleeClubin hisschoolyears.

       Robertlovesanimalstame and wild. Hisfirst loveis horsesbut dogswouldcomea in a close
second.He hasa specialtalentin traininghorses.He is gentleand kindto them showinglotsof
patience.A kneeinjurykept him from pursuingcompetingin horseshowsbut doesnot affecthisability
                                                                                      to work
to trainthe horses.He hasworkedfor his brotheron hisfarm overthe yearsand will continue
theretraininghorsesand helpingout on the farm when he is released.

       He hasmanyfriendsboth youngand old. He hasa kindspiritand is alwayswillingto help
                                                                                           and
anyonewho needsit. Forexample,one morninghe was cominghomefrom runningan errand
                                                                                                he
found a neighborboy with his motorcycleon fire. Sincethey had nothingelseto fightthe fire with,
                         and put the fire out with them. Thenhe adjustedcheckedthe bikeand
took off his new coveralls
adjustedthe carburetor.He put hisoverallsbackon and camehomewith scorches     and burnson his
 bibs.

         Roberthaslivedwith me at timeswhen I neededhim to sinceI am elderlyand in bad health. He
 hasalsobeenvery sweetto alwayswork on my carwhen I was ableto driveandthe carsof my other
 childrenandgrandchildren. Mark hasalsobeengoodto helpwith thingsaroundthe housethat I need
                                                                                                may
 done. I am very hopefulthat he will be releasedwhile I am stillliving,sinceI am 87, so that we
                                                                                                 his
 havesomemoretime together. I believethat with the supportof hisfamily,he will havelearned
 lessonand reallyturn thingsaround.

 Sincerely,
  '.r., ,i-.,,



                  (motherof Mark)
 Mary DellMcPherson

 307 HootOwl HollowRd

 Bristol,TN 37620




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